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November 30, 2023

By ECF
Hon. Charles Eskridge
Courtroom 9F
515 Rusk Street
Houston, Texas 77002

          Re:       Clingman & Hanger Management Associates LLC v. Rieck et al. (No. 4:21-CV-02698);
                    Letter Brief of Stone Pigman Walther Wittmann L.L.C. (“Stone Pigman”)

Dear Judge Eskridge:

        As the Court previously held, Furie Operating Alaska, LLC’s (“FOA”) fraudulent-transfer claims
against Stone Pigman are time-barred under 11 U.S.C. § 546. Plaintiff’s untimely request to make new
allegations that Cornucopia Oil and Gas, LLC (“Cornucopia”) transferred funds to FOA in different
amounts at different times nowhere to be found in Plaintiff’s original petition cannot “relate back” under
FED. R. CIV. P. 15, and Stone Pigman should be out of this case. Plaintiff can’t use alleged transfers from
Cornucopia to FOA – which Plaintiff can’t in candor to the Court represent that FOA passed along to
Stone Pigman1 – to revive time-barred claims based on transfers from FOA to Stone Pigman.

       Judge Isgur relied upon a widely-used test for whether fraudulent transfer claims relate back in In
re Uplift RX, LLC, 625 B.R. 364 (Bankr. S.D. Tex. 2021). Under Uplift and similar cases, claims for
additional transfers only relate back to an initial filing if two conditions are satisfied: “(1) the Amended
Complaint alleges that the Additional Transfers were part of a course of conduct alleged in the Original
Complaint; and (2) the Original Complaint notified the parties, against whom the Additional Transfer
claims are asserted, that the Trustee could pursue avoidance of the Additional Transfers associated with
the course of conduct alleged in the Original Complaint.” Id. at 376.

          Plaintiff fails both prongs of the Uplift test.

        First, Plaintiff’s original petition said nothing at all about the debtors transferring money from one
debtor to another. See Dkt. 1-5 (Original Petition). Instead, it defined two debtors – FOA and Cornucopia
– collectively as “Furie,” and complained about alleged insiders and non-debtor third parties purportedly
exploiting “Furie” for their own benefit. See id. In fact, the word “Cornucopia” appears only one time in

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  See the deletions from Plaintiff’s original draft of the proposed second amended complaint as reflected in the
screenshots on Dkt. 244, p. 14 and Dkt. 244-1, p. 5.
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the 43-page original petition. Id. at ¶ 2. So there was no “course of conduct” alleged in the original
petition related to Cornucopia transferring money to FOA, and prong 1 is not satisfied.

        Second, Plaintiff’s original petition did not notify Stone Pigman that it might need to defend itself
as an alleged subsequent transferee of funds which Cornucopia had previously transferred to FOA. See
Dkt. 229 (Motion for Leave to Amend), p. 7 (characterizing Stone Pigman as a subsequent transferee).
Instead, the only payments Stone Pigman needed to defend from the original petition were the time-barred
payments from FOA which it allegedly received as an initial transferee. See Original Petition, ¶¶ 171-
179. Again the original petition fails to allege anything at all about Cornucopia transferring funds to FOA,
much less anything that would have notified Stone Pigman that it might need to defend itself against
previously unpled allegations that some portion of Cornucopia’s funds went to FOA, and might later have
gone to Stone Pigman. See Dkt. 229-1 (Proposed Second Amended Complaint), ¶¶ 56, 59, 283, 299.2
Even there, Plaintiff could not in candor to the Court allege that “some of the funds [actually] were
transferred from Cornucopia,” and deleted that statement from the proposed Second Amended Complaint.
See Screenshots on Dkt. 244, p. 14 and Dkt. 244-1, p. 5.

        Although Uplift is ample reason to deny Plaintiff leave to amend against Stone Pigman, for
supplemental authority the Court may wish to consider another widely-cited case, In re 360Networks
(USA) Inc., 367 B.R. 428 (Bankr. S.D.N.Y. 2007). In 360Networks, plaintiffs’ original complaint sought
to avoid preferential transfers of “at least $17,330,644.54.” Id. at 430 (emphasis added). But because the
amended complaint sought to avoid additional transfers and the facts in the original pleading failed to
provide the defendant with notice of the facts out of which the new transfer claims arose, the amended
complaint did not relate back. See id. at 433-34. Likewise here, none of the transfers from Cornucopia to
FOA alleged in Plaintiffs’ proposed second amended complaint were alleged in Plaintiff’s original
petition, and all of the issues needed to defend against Cornucopia fraudulent-transfer claims are different
from those needed to defend against FOA fraudulent-transfer claims.

        As a result, Plaintiff’s proposed amended claims against Stone Pigman do not relate back and
Plaintiff’s motion to amend should be denied as to Stone Pigman.

                                                         Respectfully,

                                                         /s/ George M. Kryder

                                                         George M. Kryder


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    All of these allegations are new, as shown in Plaintiff’s redline at Dkt. 229-2.
